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Attorneys for Defendant



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF ALASKA AT ANCHORAGE
KEITH C. JOHNSON,

                                   Plaintiff,
                                                   Case No. 3:14-cv-__________-___
v.

RLI INSURANCE COMPANY,                                      NOTICE OF REMOVAL


                                 Defendant.
        Defendant RLI Insurance Company (“RLI”) gives notice of the removal of the above-
captioned action, currently pending in the Superior Court for the State of Alaska, Third Judicial
District at Anchorage, under Case No. 3AN-14-6526 CI, to the United Stated District Court for
the District of Alaska. Removal is based on diversity of citizenship under 28 U.S.C. §§ 1332 and
1441.
        As grounds for removal, RLI states as follows:
        1.      On April 29, 2014, Plaintiff Keith C. Johnson (“Johnson”) filed his Complaint for
Declaratory Relief and Damages (the “Complaint”) with the Clerk of the Superior Court for the
State of Alaska in the Third Judicial District at Anchorage. [Compl. attached as Ex. A.] Johnson
purports to bring the Complaint as the assignee of certain claims of the Estate of Robert
Stenehjem, Sr. (“the Estate”), which allegedly stem from RLI’s denial of insurance coverage to
the Estate. [Compl. ¶ 19-20.]




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         2.        Johnson purports to have served the Complaint on RLI on April 30, 2014. [See
Affidavit of Proof of Service Pursuant to Civil Rule 4(f) attached as Ex. B.]
         3.        Johnson purports to be a resident of Hinckley, Minnesota. [Compl. ¶ 1.]
         4.        RLI is organized under the laws of the State of Illinois and maintains its principal
place of business in the State of Illinois. [Compl. ¶ 2.]
         5.        Johnson claims damages in excess of $100,000. [Compl. Prayer for Relief ¶¶ 2-3.]
         6.        Because there is complete diversity of citizenship among the parties and because
the amount in controversy exceeds the jurisdictional minimum, this Court has jurisdiction over
this action pursuant to 28 U.S.C. § 1332. Accordingly, this action is removable to this Court
pursuant to 28 U.S.C. § 1441.
         7.        This Notice of Removal is timely under 28 U.S.C. § 1441(d), and will be served
upon Johnson’s counsel and filed promptly in the state court.
         DATED this 20th day of May, 2014.

                                                     LANE POWELL LLC
                                                     Attorneys for Defendant

                                                     By s/ Brewster H. Jamieson
                                                       Brewster H. Jamieson, ABA No. 8411122
                                                       Michael B. Baylous, ABA No. 0905022
I certify that on May 20, 2014, a copy of the
foregoing was served by U.S. mail and email, on:

Alfred Clayton Jr.; Bliss, Wilkens & Clayton
500 L St, Ste 200, Anchorage AK 99501
atc@bwclawyers.com

s/ Brewster H. Jamieson
124640.0006/6019260.1




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